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UN|TED STATES D|STR|CT COURT

M|DDLE D|STRICT OF FLOR|DA
ORLANDO DlV|SlON
CASE NO. 6:17-cv-001162
ELlZABETH THORPE and JOHN CLARK
W|LLIAl\/lS, ||,
Plaintiffs,
vs.

BJ'S RESTAURANTS |NC.,

Defendants.

 

DEFENDANT BJ’S RESTAURANTS lNC.’S DISPOS|T|VE NlOT|ON FOR FlNAL
SUNIN|ARY JUDGMENT WlTH |NCORPORATED IVlElVlORANDUM OF LAW

Defendant, BJ’S RESTAURANTS, |NC., by and through undersigned counsel
and pursuant to FED. R. Clv. P. 56 and l\/l.D. FLA. L.R. 3.0'|, hereby file their
Dispositive l\/lotion for Final Summary Judgment and incorporated l\/lemorandum of
LaW and requests the Court enter and Order granting the same.

|. BACKGROUND

a. Case History

This case arises out of Defendant, BJ’s Restaurants, lnc.’s, alleged failure to
exercise reasonable care for the safety of its invitees. §§ Dkt. 3) P|aintiffs’
contend Defendant breached the duty owed to decedent by negligently failing to

maintain, design, inspect the premises and failing to Warn, remedy or prevent a

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foreseeably dangerous condition. Plaintiffs bring their claims pursuant to Florida
Negligence Law as survivors as well as a separate cause of action for Wrongful
Death.

On September 23, 2015, decedent, John Clark Williams, lVl.D., was a patron
at BJ’s Restaurants, lnc.’s (“BJ’s”) restaurant located in Oviedo, Seminole County,
Florida. Plaintitfs’ contend Defendant’s employee opened an inward-opening
restroom door and struck decedent, John Clark Williams, l\/l.D., causing him to fall
and sustain injuries. (Dkt. 3 at 1113) P|aintiffs’ allege Dr. Williams’ injuries ultimately
lead to his death approximately nine months after this incident on July 9, 2016 at the
age of eighty~nine (89). (Dkt. 3 at 14).

Defendant served its Answer and Affirmative Defendants to Plaintiffs’
Amended Complaint in the underlying state court action on June 14, 2017. (Dl<t. 4)
Defendant now moves this Court for an Order granting final summary judgment in its
favor because Plaintiffs’ claims for ordinary negligence and failure to warnl and
wrongful death fail as a matter of law. While BJ’s does not dispute that decedent,
John ClarK Williams, l\/l.D., fell in the men’s restroom of their restaurant, his fall was
not caused by any breach of duty owed to him by BJ’s. According|y, BJ’s is entitled
to summary judgment as a matter of law as to all claims against it as well as the
derivative survivorship claim asserted by Plaintiffs.

b. Undisputed Facts

Defendant is the owner of a restaurant located at 8285 Red Bug Lake Road in

Ovideo, Seminole County, Florida. The restaurant was constructed under Bui|ding

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Permit #13-10474. (Ex. A, 11 5) The Semino|e County Building Department reviewed
the construction plans for code compliance and issued a Building Permit on lVlarch
10, 2014. Because the building permit was issued on l\/larch 10, 2014 Certificate of
Occupancy was for this location was issued on July 11, 2014, the 2010 Florida
Building Code is applicable (ld_., 117-9)

The men’s restroom was designed and constructed in accordance with the
2010 Florida Building Code. (L 11117, 11-13) The men’s restroom met all criteria set
forth in the 2010 Florida Building Code (ld_. 1111-13) BJ’s Restaurant, lnc. has never
been cited for a Building Code Violation as it pertains to the men’s restroom at issue
in this matter. (@ 1111 6-7)

Plaintiffs allege in their Amended Complaint, inter alia:

As Decedent, John Clark Williams, l\/l.D. was using the restroom facilities,

Ray Jomark [Alicea] Vega abruptly opened an inward-opening restroom door,

The door struck Decedent, John Clark Williams, lVl.D., knocking him to the

floor and causing him injuries

The injuries suffered by Decedent led to his demise on July 9, 2016.

Defendant owed its business invitees, including Decedent John Clark

Williams, l\/l.D., a duty to exercise reasonable care for their safety.
(Dkt. 3 1111 13-14, 19). ln her Answers to lnterrogatories, Plaintiff, Elizabeth Thorpe
claimed, “A BJ’s employee abruptly opened an inward swinging restroom door,

knocking [her] father to the ground and fracturing his hip.” (Ex. B, 11 10)

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During his l\/larch 27, 2017 deposition, decedent’s son-in-law, Jerry Thorpe, testified
that he accompanied Dr. Williams to the restroom. Dr. Williams entered the
restroom to use one of the urinals and l\/lr. Thorpe went to wash his hands at the
sink. (Ex, C, p. 11; lines 8-15). The sinks are on the opposite side of the restroom
from the urina|s as depicted below in photographs taken by P|aintiff, Elizabeth

Thorpe’s son, l\/lichae| Thorpe, within a week of the incidentl (Ex. D, p. 18, 8-13).

 

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l\/lr. Thorpe and
Dr. Williams
were the only
ones in the
restroom at the
time of the
incident (Ex. C,

p. 13, lines 8-

 

13) While Dr.
Williams was passing behind l\/lr. Thorpe, the restroom door was opened by BJ’s
Restaurant, Ray Vega. (Ex. C, p. 11, lines 10-19) lVlr. Thorpe’s back was to the
urinals as he was standing at the sink. He did not see the incident because there
was a blind spot. (Ex. C, p. 13, lines 8-13) However, he heard an “oops” or “l’m
sorry” and heard Dr. Williams “shuffle.” He knew Dr. Williams was falling. (Ex. C, p.
11, lines 21-23). Jerry Thorpe and Dr. Williams were the only ones in the restroom
at the time of the incident (Ex. C p. 13, lines 11-13).

At the deposition of former BJ’s Restaurant, lnc. employee Ray Vega on
l\/larch 28, 2017, l\/lr. Vega testified that he was working on the pizza station on the
date of the incident He left the pizza station to use the restroom, as he had no
orders pending on his screen. (Ex. E, p. 29, lines 13-21; p. 51, lines 9-13). He was
not in a hurry and was walking at a normal speed. (Ex. E, p. 29, lines 4-9). When he

opened the door, he did not know Dr. Williams was behind the door. (Ex. E, p. 23,

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lines 13-16). l\/lr. Vega then looked behind the door and saw Dr. Williams on the
floor. (Ex. E, p. 31, lines 8~15).

l\/lr. Vega apologized to plaintiff, Elizabeth Thorpe, and told her that it was not
intentional but he did not know that Dr. Williams was behind the door. (Ex. E, p. 48,
lines 1-2; 8-10). Elizabeth Thorpe, told him "thank you, l appreciate that, but there is
nothing you can do. Accidentsjust happen.” (Ex. E, p. 48, lines 12-15).

Dr. Williams frequented this restaurant and had used the restroom on
previous occasions. Jerry and Elizabeth Thorpe took Dr. Williams to this restaurant
every week. (Ex. C, p. 22, lines 5-10) During those prior visits to the restaurantl Dr.
Williams had also used the restroom. (Ex. C, p. 23, lines 4~7). Jerry Thorpe
estimated this to be at least the third time they had been to this restaurant (Ex. C, p.
22, lines 11~14).

Defendant is unaware of any similar incidents on the subject premises (Ex. F,
11 18, Ex. G, 1111 3-5) Prior Dr. John Clark VVi|liams’ fall, no employees or guests
complained about the men’s restroom door being dangerous or posing a hazard to
individuals using the men’s restroom. (Ex. G, 1111 3-5) There were no reports of
complaints or reports of injuries sustained due to the men’s restroom door by any
guest or employee using the men’s restroom. (Ex. G, 1111 3~5) l\/lr. Vega testified that
he never had any difficulties navigating inside of the men’s restroom. (Ex. E, p. 52,
lines 2-6). He also never experienced any incident where he was almost hit with the

door in the restroom at issue. (Ex. E, p. 52, 7-9)

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BJ’s l\/lanager, Stefanie DeJesus, testified at her deposition that she saw the
door at issue on the date of the incident and testified that it was not broken and there
was not anything wrong with the door. (Ex. H, pp. 47, lines 24-25; 48, lines 1-7).
Also, l\/lr. Vega testified that he did not think that there was anything wrong with the
door on the date ofthe accident (Ex. E, p. 53, lines 16-19).

ll. LEGAL STANDARDS AND ANALYSIS

a. Motion for Summary Judgment Standard

Summary judgment is appropriate when the movant can show there is no
genuine issue of material fact and that the movant is entitled to judgment as a matter
of |aw. Fennell v. Gilstrap, 559 F.3d 1212, 1216 (11th Cir. 2009) (citing Mg

Servsg lnc. v. Forman, 509 F.3d 1351l 1356 (11th Cir. 2007)). Which facts are

 

material depends on the substantive law applicable to the case. Anderson v. Liberty
Lobby, lnc., 477 U.S. 242, 248 (1986). The moving party bears the burden of
showing that no genuine issue of material fact exists. Clark v. Coats & Clark, lnc_l
929 F.2d 604, 508 (11th Cir. 1991). Evidence is reviewed in the light most favorable
to the non-moving party. _Eggg_ej, 559 F.3d at 1216 (citing Welding Servs., lnc., 509
F.3d at 1356).

A moving party discharges its burden on a motion for summary judgment by
showing or pointing out to the Court there is an absence of evidence to support the
non-moving party's case. Dennev v. Citv of Albanv, 247 F.3d 1172, 1181 (11th Cir.
2001) (citation omitted). When a moving party has discharged its burden, the non-

moving party must then go beyond the pleadings, and by its own affidavits, or by

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depositions, answers to interrogatories and admissions on file, designate specific
facts showing there is a genuine issue for trial. Porter v. Ray, 461 F.3d 1315, 1321
(11th Cir. 2006) (citation omitted). The party opposing a motion for summary
judgment must rely on more than conclusory statements or allegations unsupported
by facts Evers v. Gen. l\/lotors Corp., 770 F.2d 984, 986 (11th Cir. 1985)
("conclusory allegations without specific supporting facts have no probative value.”).
ln contrast to the moving party, the non-moving party may not rest solely on her
pleadings to satisfy this burden and escape summary judgment Celotex Corp. v.
CLrett, 477 U.S. 317, 325 (1986). lt must designate evidence within depositions,
answers to interrogatories or admissions indicating there is a genuine issue for trial.
|d_. at 324; FED. R. Clv. P. 56(e).

lf the evidence offered by the non-moving party is merely colorable, or is not
significantly probative, the Court may grant summary judgment Anderson, 477 U.S.
at 249-50. As discussed more ful|y, infra, applying these standards, BJ’s is entitled
to summaryjudgment as a matter of law.

b. Plaintiffs’ Negligence Claims Against BJ’s

To sustain a cause of action for negligence under Florida lawl the Plaintiffs
must prove by a preponderance of the evidence: (1) the defendant a had a duty to
protect the plaintiff from a particular injury; (2) the defendant breached that duty; and
(3) the defendants breach was the proximate cause of the plaintiffs injuries and
resulting damages Zivojinovich v. Barner, 525 F.3d 1059l 1067 (11th Cir. 2008); W

also Cooper Hotel Serv., lnc. v. l\/lacFarland, 662 So. 2d 710, 712 (F|a. 2d DCA

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1995). A landowner owes two duties to a business invitee: (1) to use reasonable
care in maintaining its premises in a reasonable safe condition; and (2) to give the
invitee warning of concealed perils that are or should be known to the landowner
and that are unknown to the invitee and cannot be discovered through the exercise
of due care. St. Joseph's Hosp. v'. Cowart, 891 So. 2d 1039, 1040 (Fla. 2d DCA
2004).

Several months into this litigation, Plaintiffs continue to rely on a theory of
liability that is unsupported by any facts Plaintiffs allege Defendant failed to
exercise reasonable care for the safety of its business invitees (Dkt 3 11 19) This is
not a duty a landowner owes invitees pursuant to Florida Law. lt is well established
that a landowner has a duty to maintain its premises in a reasonably safe condition.
However, a landowner is not an insurer of his business invitee's safety. Aaron v.

Pa|atka l\/|a|| LLC, 908 So. 2d 574, 578 (Fla. 5th DCA 2005).

 

lt appears plaintiffs are attempting to prove negligence by the occurrence of
an accidentl incident or injury. Plaintiffs rely solely on their testimony that a BJ’s
employee opened the inward opening restroom door that came in contact with the
decedent However, the mere occurrence of an accident does not give rise to an
inference of negligencel l\/liller v. Wallace, 591 So. 2d 971, 973 (Fla. 5th DCA 1992).
Liability for negligence in failing to maintain premises in a reasonably safe condition,
or in failing to warn of existing dangers, must be predicated on BJ’s superior
knowledge or means of obtaining knowledge concerning the danger. Winn-Dixie

l\/lontdomerv, lnc. v. Petterson, 291 So.2d 666 (Fla. 1st DCA 1974)

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To prevail, Plaintiffs must show BJ’s failed to use reasonable care in
maintaining its premises and had actual or constructive notice of the alleged
dangerous condition. See Ugaz v. Am. Airlines, lnc., 576 F. Supp. 2d 1354, 1368
(S.D. Fla. 2008). No liability can attach where it is not shown that BJ’s had actual or
constructive notice of the dangerous condition. Winn-Dixie l\/lontdomerv. lnc. v.
Petterson, 291 So.2d 666 (Fla. 1st DCA 1974)

There is no record evidence of actual or constructive knowledge on the part of
Defendant of a dangerous condition or that a dangerous condition existed for such a
length of time that the Defendant should have known of its existence There is no
record evidence that the men’s restroom door was improperly designed, maintained
or inspected The inward opening men’s restroom door at issue is an openl obvious,
and common condition that was not defective nor broken on the date of the incident

Plaintiff is unable to prove actual or constructive notice because record
evidence filed in support of this motion establishes that the restroom door complied
with the applicable Florida Building Code and ADA Accessibility Guidelines as
confirmed by the Seminole County Building Division. Further, there are no prior
reported complaints or injuries involving the inward opening restroom door.

ln contrast the affidavits deposition testimony, and discovery supporting this
motion are uncontroverted and establish that Defendant did not breach any duty
owed to the decedent Accordingly, without any evidence that defendant breached a

duty to the decedent or had actual or constructive notice regarding the existence of a

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dangerous or risk-creating condition with the subject restroom door, liability cannot
attach.

c. Duty to Maintain the Premises and Duty to Warn

i. No Duty - Open and Obvious Condition

l\/lore than half-century ago, The Florida Supreme Court upheld summary
judgment for a landowner, recognizing that a:

Business invitee is entitled to expect that the proprietor will take

reasonable care to discover the actual condition of the premises and

either make them safe or warn [the invitee] of dangerous conditions, it

is equally well settled that the proprietor has a right to assume

that the invitee will perceive that which would be obvious to him

upon the ordinary use of his own senses.
Earlv v. l\/lorrison Cafeteria Co. of Orlando, 61 So. 2d 477l 478 (Fla. 1952)
(emphasis added). Although landowners owe two separate and distinct duties to
business invitees the open and obvious nature of the condition may preclude a

finding of breach of either duty, as a matter of law. Brookie v. Winn-Dixies Stores1

lnc. and The Lewis Bear Companv, No. 1D16-1285, 2017 WL 1239896 (Fla. Dist

 

Ct App. Apr. 4, 2017) Some conditions are so obvious, and not inherently
dangerous, that they cannot be said as a matter of law to constitute a dangerous
condition. Such conditions, will not give rise to liability due to the failure to maintain
the premises in a reasonably safe condition. Shoen v. Gilbert, 436 So. 2d 75 (Fla.
1983) Other conditions are dangerous but are so open and obvious that an invitee
may be reasonably expected to discover them and to protect himself Ascroft v.

Calder Race Course, lnc., 492 So. 2d 1309, 1311 (Fla. 1986).

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The open and obvious doctrine is objective Gibbs v. Republic Tobacco, L.P.,
119 F, Supp. 2d 1288 (l\/l.D. Fla. 2000). As one district court explained:

A condition is open and obvious when it is known to the plaintiff or

should have been observed by the plaintiff in the exercise of

reasonable care . . . The entire basis of a premises owner’s liability

case rests upon its superior knowledge of the danger which causes the

plaintiffs injuries Thereforel if that superior knowledge is lacking, as

when the danger is obvious, the premises owner cannot be held liable
Allen v. Fountainbleu l\/lqmt Servs., LLC, No., 7:11-cv-3532-RDP, 2013 WL
2248732 at *5 (N.D. Ala. lVlay 20, 2013).

ln Arnoul v. Busch Entertainment Corp., the l\/liddle District granted summary
judgement for defendant where the plaintiff’s injuries were caused by his own “failure
to take precautions.” 2008 WL 4525106 *3-4 (l\/l.D. Fla. Oct. 6, 2008) ln Crawford v.
Me_r, the Court held where a plaintiff had knowledge of a protrusion onto a
walkway, the premises was not in an unreasonably dangerous condition, since the
plaintiffs injuries could have been avoided by taking due care to avoid them. 542
So. 2d 1050, 1051 (F|a. 3d DCA1989)

Similarly here, record evidence establishes that Dr. Williams was familiar with
the men’s restroom at this restaurant as he frequented this restaurant and had used
the restroom on previous occasions Jerry and Elizabeth Thorpe took Dr. Williams
to this restaurant every week. (Ex. C, p. 22, lines 5-10) During those prior visits to
the restaurant Dr. Williams had also used the restroom. (Ex. C, p. 23, lines 4-7).

Jerry Thorpe estimated this to be at least the third time they had been to this

restaurant (Ex.C, p. 22, lines 11-14).

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Further, Dr. Williams had knowledge of the alleged protrusion into the
restroom as he walked through the inward opening restroom doorjust moments prior
to the incident Dr. Williams entered the men’s restroom with his son-in-law, Jerry
Thorpe After Dr. Williams entered the restroom he went to use one of the urinals
and lVlr. Thorpe went to wash his hands at the sink. (Ex. C, p. 11; lines 8-14) Dr.
Williams finished using the urina| and was passing behind lVlr. Thorpe to the sink
when the restroom door was opened by BJ’s Restaurant, Ray Vega. (Ex. C, p. 11,
lines 10-19)

ln the exercise of reasonable care, Dr. Williams should have observed the
fact that the restroom door opened inwards. The obviousness of the alleged danger
is an objective standard and the inward opening door could be perceived by Dr.
Williams through the ordinary use of his senses As held in PM, a landowner
cannot be held liable When the alleged danger is obvious

Based upon the foregoingl the record evidence establishes that the alleged
danger was open, obvious, and known to Dr. Williams as: (1) Dr. Williams had been
to this restaurant every week; (2) he had been to this restaurant at least three times;
(3) he had used the restroom on previous occasions; and (4) he walked through the
restroom door moments before this incident Based upon the foregoing, Defendant
respectfully requests this Court grant Defendant’s Dispositive lVlotion for Summary

Judgment

ii. No Duty - Complied With Al| Applicable Building
Codes

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Plaintiffs allege defendant negligently designed the premises (Dkt. 3 11 20)
To prevail, plaintiff must show an uncommon design or mode of construction that
creates a hidden danger that a prudent invitee would not anticipate Glanzberg v.
Kauffman, 788 So. 2d 252, 254 (Fla. 4th DCA 2000).

ln Glanzberg, plaintiff’s expert testified that the alleged dangerous condition
had “construction defects” and “noncompliant code issues.” Glanzberg, 788 So. 2d
at 253. Thus, there was evidence of uncommon design and unusual mode of
construction §

Conversely, in this case, there is no record evidence of any abnormality or
defect with the inward opening restroom door. This restaurant was recently
constructed in 2014. (Ex. A, Aff. of John R. Pike, 118) ln reviewing the proposed
construction plans that accompanied the permit application, the Seminole County
Building Division determined the men’s restroom, including the men’s restroom door,
opening, and available maneuverable space, was designed and constructed in
accordance with the applicable 2010 Florida Building Code. (ld_.11117, 11-13)

As constructed, the men’s restroom, including the restroom door and opening,
satisfied all requirements set forth in the 2010 Florida Building Code. A final building
inspection was completed and a certificate of occupancy was issued on July 11,
2014. (l_cL 1111-13) BJ’s Restaurant, lnc. has never been cited for a Building Code
Violation as it pertains to the men’s restroom door at issue in this matter. (ld_. 1111 6-7)

Further, Seminole County Building Division Chief Plans Examiner, John R.

Pike, visited the BJ’s Restaurant at issue on August 31, 2017 and found that the

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men’s restroom as built complies with the approved building plans on file with the
Seminole County Building Division. He further found that the men’s restroom,
including the men’s restroom door, opening, and clear maneuverability space, was
compliant with the applicable Florida Building Code and ADA Accessibility
Guidelines (Ex.A,1110-13)

Therefore, Defendant should not be found negligent in the design or
construction in the men’s restrooml and more specifically the men’s restroom door,
as the construction and design complied with all applicable Florida Building Codes
and ADA Accessibility Guidelines. Based upon the foregoing, Defendant respectfully
requests this Court grant summary judgment in Defendant’s favor.

iii. inward Opening Restroom Door is Common or
innocuous in Everyday life such that it is Not
Dangerous as a lV|atter of Law

The obvious danger doctrine recognizes that owners and occupiers should be
legally permitted to assume that the invitee will perceive that which will be obvious to
them upon the ordinary use of their senses Aventura l\/lall Venture v. Olson, 561
So.2d 319 (Fla. 3d DCA 1990); Circle K Convenience Stores, lnc. v. Ferquson, 556
So.2d 1207 (Fla. 5th DCA 1990) Where an alleged condition that causes the injury
was “so open and obvious, so common and so ordinarily innocuous” it is not
dangerous as a matter of law. Circle K Convenience Stores, lnc. v. Ferquson, 556
So.2d 1207 (Fla. 5th DCA 1990) (where plaintiff tripped over a joint in gas station

parking lot where concrete met the asphalt); Aventura l\/la|l Venture v. Olson, 561

So. 2d 319l 321 (Fla. 3d DCA 1990) (agreeing with Fifth District’s holding and

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affirming summary judgment on same grounds when plaintiff tripped over sidewalk
curb); Ramsey, 124 So. 3d at 419 (affirmed summary judgment where plaintiff
tripped over wheel stop in center of parking space that complied with ADA
regulations).

Doors, including restroom doors, are encountered by general members of the
public everyday and multiple times a day. Doors are common place and it is
common knowledge that most doors - barring automatic sliding doors -- either open
inward or outward. The fact that the restroom door opens inward is plainly visible to
an adult exercising reasonable care Additionally, record evidence supports a
finding that the decedent had used this restroom on prior occasions Decedent had
visited this BJ’s restaurant weekly and at least on at least three occasions before
this incident During those previous visits, Dr. Williams had also used the restroom.
(Ex. C, Dep. Tr. J. Thorpe, p. 22, lines 5-14; p. 23, lines 4-7)

Therefore, Decedent knew or should have known through the ordinary use of
his senses that the restroom door opened inwards. However, decedent failed to
avoid the observed condition and protect himself when passing from the urinal to the
sink. There was satisfactory clear maneuverable space in the restroom pursuant to
the applicable building code and there was no one else in the restroom at the time of
the incident (Ex. C, Dep. Tr. J. Thorpe, p. 13, lines 8-13) Defendant BJ’s, has the
right to assume that the invitee will perceive the direction in which a door opens

Therefore, Defendant should not be found negligent for an alleged failure to

anticipate a harm when the condition is: (1) common; (2) innocuous; and (3) open

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and obvious A landowner is not an absolute insurer of his business invitee's safety.
Aaron v. Palatka l\/iall, LLC, 908 So. 2d 574, 578 (Fla. 5th DCA 2005). The inward
opening restroom door is so open and obvious that Dr. Williams was reasonably
expected to discover the inward opening door and to protect himself.

iv. No Actual or Constructive Notice of a Risk-Creating
Condition

Plaintiffs’ failed to allege BJ’s was on notice of the alleged dangerous
condition the men’s restroom door created to guests visiting the restaurant Further,
there is no record evidence to support such an allegation. No prior guests
complained about the men’s restroom door where decedent fell, no other falls or
accident occurred due to a person striking another with the inward opening men’s
restroom door, and the men’s restroom - including the door - are complaint with the
2010 Florida Building Code. (Ex.A,11117, 11~13; Ex. B 1118; Ex. G.11113-5)

Any liability on the part of BJ’s would turn on whether BJ’s had notice - either
actual or constructive - of an alleged risk-creating condition. The applicable
standard of care is ordinary reasonable care under the circumstances a standard
which requires as a prerequisite to imposing liability, the premises owner have
actual or constructive notice of the risk-creating condition. Haynes v. Lloyd, 533 So.-
2d 944, 946 (Fla. 5th DCA 1988). Constructive notice requires a defective condition
exist for a sufficient interval of time to invite corrective measures Lcj_.

in this case, the area where decedent fell is heavily trafficked by guests using
the men’s restroom. Guests routinely enter and exit through the men’s restroom

door as well as walk from the urinals to the sink in order to wash their hands without

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impediment There is no record evidence that BJ’s had actual or constructive notice
the subject restroom door presented an unreasonable risk of harm to BJ’s
Restaurant guests As stated in Defendant’s response to interrogatory 18, it was
unaware of any prior similar incident (Ex. F, 1118) As stated in the attached affidavit
of corporate representative Debbie Nichols, BJ’s was never notified of any dangers
or hazards presented by the men’s restroom door because no guest or employee
had complained of any prior to this incident There are no reports of complaints or
injuries regarding a hazardous or dangerous condition of the inward opening men’s
restroom door before this incident (Ex. F, 11 18, Ex. G, 1111 3-5, Ex. E, p. 52, lines 2-
9).

Finally, BJ’s employee, Ray Vega testified that he never had any difficulties
navigating inside of the men’s restrooml (Ex. E, p. 52, lines 2-6). He also never
experienced any incident where he was almost hit with the door in the restroom at
issue (Ex. E, p. 52, 7-9)

Prior to this incident there was simply no actual knowledge of any danger
presented by the men’s restroom door. There are no reports comments or
complaints of any other restaurant guest or employee being injured by the inward
opening restroom door. l\/loreover, there is no evidence from which a jury could
reasonably infer constructive knowledge that a defective condition existed for a
significant period of time to invite corrective measures As previously discussed, the
men’s restroom, including the door was in compliance with all applicable building

codes and ADA accessibility guidelines Further, BJ’s l\/lanager, Stefanie DeJesus,

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testified at her deposition that she saw the door at issue on the date of the incident
and testified that it was not broken and there was not anything wrong with the door.
(Ex. H, pp. 47, lines 24-25 48, lines 1-7). Also, l\/lr. Vega testified that he did not
think that there was anything wrong with the door on the date of the accident (Ex. E,
p. 53, lines 16-19).

Plaintiffs appear to rely on their own deposition testimony that Dr. Williams
was struck with an inward opening restroom door. However, this is insufficient to
establish notice of a risk-creating dangerous condition. Furthermore, the fact that
decedent fell while in the restroom is insufficient to establish BJ’s was on notice of a
risk-creating or dangerous condition. Because a landowner is not an absolute
insurer of his business invitee's safety. Aaron v. Palatka i\/iall, LLC, 908 So. 2d 574,
578 (Fla. 5th DCA 2005). Thus, the mere occurrence of an accident does not give
rise to an inference of negligence l\/iiller v. Wallace, 591 So. 2d 971, 973 (Fla. 5th
DCA 1992).

Based upon the foregoing, Defendant respectfully requests this Court grant its
i\/lotion for Summary Judgment

d. Vicarious Liability for Employee Ray Vega

Under Florida law, “[a]n employer may be vicariously liable to third parties
under the principle of respondeat superior for damages and injuries caused by its
employee's negligent acts which are committed within the scope and course of his
employment” Bennett v. Godfather's Pizza. lnc., 570 So.2d 1351l 1353-54

rFia.Disr.cr./\pp.r 990).

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Although plaintiffs have failed to plead a cause of action for vicarious liability,
plaintiffs may attempt to argue that BJ’s employee, Ray Vega, was negligent in
opening the restroom door and thus BJ’s is vicariously liable for his negligent
actions There is no record evidence to suggest that BJ’s employee, Ray Vega,
opened the restroom door in any manner other than its intended general use on the
date of the incident

First, former BJ’s employee, Ray Vega, testified that he left his pizza station
to use the restroom, as he had no orders pending and he felt he had enough time to
go use the bathroom and come back. (Ex. E p. 51, lines 9-14, 21-23). He was not in
a hurry. He was just walking into the bathroom at a normal speed. (Ex. E, p. 29,
lines 4-9) l\/lr. Vega opened the door with his hand and a little bit of force (Ex. E, p.
32, lines 6-9, p. 52, lines 23-24). He described it as a normal door. (Ex. E, p. 28,
lines 7-9) However, he did not know Dr. Williams was standing behind the door. (Ex.
E, pp. 23: 13-16). lVir. Vega then looked behind the door and saw Dr. Williams on the
floor. (Ex. E, pp: 31: 8-15).

Second, no one saw the alleged collision. Plaintiff’s husband, Jerry Thorpe,
testified he did not see the collision. (Ex. C, p.13, lines 8-13) He had his back
towards Dr. John Clark Williams at the time the restroom door was opened. There
was a blind spot (Ex. C, p. 13, lines 8-13) However, he heard an “'oops” or “l’m
sorry” and Dr. Williams “shuffle” his feet (Ex. C p. 11, lines 21-23) He knew Dr.

Williams was falling. (Ex. C, pp. 11, lines 21-23).

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Therefore, there is no record evidence to suggest that i\/lr. Vega opened the
restroom door in any manner or fashion that is inconsistent with its intended purpose
or othen/vise in any negligent manner. Rather, Dr. Williams’ failure to take
precautions was the cause of his alleged injuries Based upon the foregoing,
Defendant respectfully requests this Court grant its Dispositive l\/lotion for Summary
Judgment.

iii. CONCLUS|ON

The record evidence does not support Plaintiffs’ speculationl assumptions
and hunches that a dangerous condition existed with the men’s restroom door that
caused decedents fall and alleged injuries resulting in his death nine months later,

Alternativeiy, there is no record evidence that Defendant BJ’s had actual or
constructive notice of any alleged dangerous or hazardous condition of the men’s
restroom door. Further, there is no record evidence that the door was defectivel
broken, or had any other abnormalities

Prior to decedents fall, no other guests nor employees had a fall, injury, issue
or complaint involving the men’s restroom door. Thus, Plaintiffs’ theory of liability is
based purely on assumptions speculation, conjecture, and hunches Plaintiffs hope
some evidence will be discovered, however, after almost one year of litigation, they
have nothing.

Further, record evidence definitively establishes that the restroom door at
issue satisfied all applicable Florida Building Code and ADA Accessibility Guideline

requirements at the time it was instructed in 2014 as well as presently.

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The occurred of an incident or accident without more cannot prove liability.
The fact that the men’s restroom door opened inward was an open an obvious
condition that could be perceived by Dr. Williams through the ordinary use of his
senses lt was Dr. Williams’ failure to use due care to protect against being
allegedly struck with the inward opening restroom door that caused his injuries As
such, liability cannot attach

Defendant BJ’s Restaurants, lnc., respectfully requests the Court enter final
summary judgment in its favor and against Plaintiffs Elizabeth Thorpe, and John
Clark Williams, ll, as co-persona| representatives of the Estate of John Clark
Williams, l\/l.D.

Dated: 9/14/2017
Respectff`itly-,. ubmitted,

0 </_.-_»

Jo"§'ep/h P. rvieneiro, Esquire (147400)

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Attorneys for BJ's Restaurants, lnc.

_22_

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CERT|F|CATE OF SERVICE

l HEREBY CERT|FY that a true and correct copy of the foregoing was
filed with the Clerk of Court using the Cl\/l/ECF system on September 14,
2017, and the foregoing document is being served this day on all counsel or
parties of record on the Service List below, either via transmission of Notices
of Electronic Filing generated by Cl\/l/ECF or in some other authorized
manner for those counsel or parties who are not authorized to receive Notices

of Electronic Filing.

sph P. i\/ienello Esquire

 

//

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_23._

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53849-5
UNITED STATES DISTR|CT COURT

M|DDLE 'D|STRlCT OF FLOR|DA
ORLANDO DlViSiON

EL|ZABETH THORPE and JOHN CASE NO. 6:17-Cv-001162
CLARK WiLL|AMS, |Il,

Plaintiffs,
vs
BJ’S RESTAURANTS |NC.,

Defendants
/

AFFIDAV|T OF JOHN R. PiKE

STATE OF FLORIDA
COUNTY OF SEM|NOLE

BEFORE ME, the undersigned authority, on this day person-ally appeared
Paul Watson, who after being first duly sworn, under oath, deposes and says:

1. le name is John R. Pike. l am over the age of eighteen (18.), am
othen~ise competent to testify, and have personal knowledge of the
information contained herein.

2. l am currentiy the Chief Pians Exarniner with the Semino|e County
Building Division. l am a licensed building officiai, plans examiner, and
inspector in the State of Florida. l have over 36 years of construction
experience

3. l arn responsible for reviewing building plans submitted for the

approval or denial of building permit applications for Seminole County.

 

 

Exhibit A

 

 

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4. l have reviewed the building plans and inspections on file for the BJ’s
Restaurant located at 8285 Red Bug Lai<e Road, Oviedo, Serninole
County, Florida. The records l reviewed are attached hereto as Exhlbit
A.

5. On December17, 2013, a buiiding permit application was submitted for
the construction of the BJ’s Restaurant located at 8285 Red Bug Lai<e
Road, Oviedo, Sernino|e County, Florida. The Building Permit for the
construction of the BJ’s Restaurant at this location is #13-10474

6. Building plans were submitted and reviewed for code compiiance by
the Seminole County Building Division. As such, the 2010 Florida
Building Code is applicable to the construction of this building

7. The men’s restroom, inctuding the men’s restroom door, door opening,
and clear maneuverable space, was designed in compliance with the
2010 Florida Building Code and applicable ADA Accessibility
Guidelines.

8. The building permit was issued on l\/iarch 10, 2014.

9. On Juiy 11, 2014, the final building inspection was completed and final
construction was approved A certificate of occupancy was issued on
that date.

10. On Augus.t 31, 2017, l visited the BJ’s Restaurant and inspected the

men’s restroom.

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11. As built the men’s restroom, including the door, conforms with the
building plans on file with the Seminole County Building Department for
this location,

12. As of the inspection on August 31, 2017, the rnen’s restroom, including
the door, complies with all applicable Florida Building Codes

13. As of the inspection on August 31, 2017, the men’s restroom, including
the door, complies with all applicable ADA Accessibility Guide|ines.

14. This location has never been cited for a Building Code Violation.

15. The men’s restroom, including the door, has never been cited for a
Building Code Violation.

FURTHER AFFIANT SA|TH NAUGHT.

// F §1!5\// V\,\ ;‘:.:`2..- \<::`::;J'j""§.:»s;' " "'/

 

i Johin R.Pir<e

\,__/
/] Sworn to (or affirmed) and subscribed before me this .'."/§i.§:f» day of
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* Notaty Public - State of Florida

   
  

""-. El..lZABETH f’ARKHUR$T

 
 

spring my io, 2020
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(Print, Type, Stamp, or Commissioned
Name of l\lotary Public)

Personally l<nown g OR Produced identification
Type of identification Produced:

 

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IN THE CIRCUIT COURT OF THE EIGHTEENTH JUDICIAL CIRCUIT
IN AND F()R SEMINOLE COUNTY, FLORIDA

ELIZABETH THORPE and JOHN
CLARK WILLIAMS lI, as Co-Personal
Representatives of the Estate of JOHN
CLARK WILLIAMS, M.D., deceased,

Plaintiffs,
vs. CASE NO: 2016-CA-002802-11J-G
BJ’S RESTAURANTS, INC., a foreign
corporation, and ESTEBAN ANTONIO
MURILLO, an individual,

Defendants.
/

 

PLAINTIFF ELIZABETH THORPE’S NOT_ICE OF SERVING ANSWERS TO DEFENDANT
BJ’S RESTAURANTS INC.’S INTERROGATORIES

Piaintift`, ELlZABETH THORPE, as Co-Personal Representative of the Estate of JOHN CLARK
WILLIAMS, M.D., deceased, by and through his undersigned counsel hereby submits her answers to
Defendant BJ’S RESTAURANTS, INC.’S, Interrogatories, consisting of 28 questions served on
December 20, 2016.

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing has been
electronically filed via Florida ePortal on this the 24th day of January, 2017 and served by
electronic mail upon Joseph P. Menello, Esq., and Suzanne Kersh, Esq., and Wicker, Smith,
O’Hara, McCoy & Ford, P.A., 390 N. Orange Ave., Ste. 1000, Orlando, Florida 32801
O_RLcrtbleadinas@wickersrnith.com (attorneysfor BJ’S Restaurants, Inc.) .

A//'onaz%a/n/?T Gilbert
Jonathan T. Gilbert, Esq.

Florida Bar No. 064829
Colling Gilbert Wright & Carter, LLC

 

Exhibit B

 

 

 

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Attorneysfor Plaintiffs’

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ANSWERS 'I'O INTERROGATORIES

l. What is the name, 'e-mail address and street address of the person answering
these interrogatories and, if applicable the person’s official position or relationship with the
party to whom the interrogatories are directed?

 

2. State the full name, date of birth, Social Security number, drivcr's license number,
e-mail address and street address at the time of` death of the decedent and all former names used
by the decedent

ANSWER: Name: John Clark Williams

 

3'. Was the decedent married et the time of the subject incident? It` so, please state
the name, e-mail address, and street address of the spouse of the decedent

ANSWER: -

4. " List the names and addresses of all doctors, psychiatrists psychologists_,
chiropractors or other members of the healing arts who treated thc'decedent in the lO`.-ycars
preceding his/her dcath, giving in each instance and t`or each doctor the date of treatment nature
of` treatment receivcd, nature of illness for which treatment was given and if being claimed in this
case, the sums of money paid or owing to the health care provider for their services

 

ANSWER: Objection. This interrogatory is compound in nature, overbroad,
burdensome and not reasonably limited in time and scope Subject to and without waiving
these objections see below.

 

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5. State whether or not the decedent was ever been admitted to, examined or treated ‘
at any hospital or institution and if your answer is in the affirmative, state the name of the
hospital, the-date of admission, reason for the ad-mission, nature of the treatment given and}"if any
sums of money have been paid or are owing to the institution, the amount in each instance.

 

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Describe any and all infirmities and disabilities that the decedent had before the
incident causing death, including any illnesses or disorders relative to his/her heart, nerves .
nervous system, high blood pressure, diabetes ulcer, sprain or strain of any part of his/her body,
and give the dates names of and street address oftreating or consulting doctors or hospitalsl

Excluding the incident Which is the subject of this action, describe any and all
accidents or personal injuries the decedent suffered, together with the date, time and place of
such accident or personal injury and the names and street addresses ofall parties involved.

Have any written, oral recorded, or any other form of statement been obtained by
you, your attorneys agents or employees from any person concerning any of the matters relating
to this action and if so, list the name, street address and telephone number of the person `ii'om
whom the statement has been obtained, the date the statement was obtained, the name and the
street address of the person taking the statement, the present location of the statement and state

whether or not the person ii'om Whom this statement was taken was provided a copy of the
statement '

9. I-Iave you heard or do you know about any statement or remark made by or on
behalf of any party to this lawsuit‘_? If so, state the name and address of each person who made

the statement or statements the name and address of each person who heard it, and the date,
time, place and substance of each statement

]0. 1 Describe in detail, each act or omission on the part of this Defendant you contend
constituted negligence that was either the sole or a contributing legal cause of the decedent's

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death and as to each actor omission, please list the name and street address of all persons having
knowledge of the act or omission.

ANSWER: Objection. This interrogatory calls for a legal opinion. Subject tov the
foregoing objection and without waiving same, plaintiff responds as follows: A BJ’s
employee abruptly opened an inward swinging restroom door, knocking my father to the
ground and fracturing his hip. Diseovery in this matter is continuing and I reserve my
right to amend or supplement this answer if appropriate.

ll. List the names and street addresses of all persons who are believed or known by
you, your agents or attorneys to have any knowledge concerning any of the issues raised by the
pleadings and specify the subject matter about which the witness has knowledge

 

12. - Do you or your attorneys agents servants or employees have any photographs or
videos which are relevant to the issues of liability and damages presented by the Complaint and,
if so, please state the name and street address of the person having possession of the _
photographs the name and street address of the person or persons Who took the photographs or
videos ,the date the photographs or videos were taken the number of photographs or videos and
include a description of what 1s depicted` m the photographs or videos.

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Did the decedent die testate (did the decedent have a Will) and if so, state whether
the willl has been filed for probate, and if so, the date, name of court, title of action and tile
number as well as the names and addresses of all creditors to the estates and the amount owed by
the decedent at the time of his or her death.

List the names addresses dates of employment, and rates of pay regarding all
employers for whom the decedent worked during the last ten (10) years of his or her life.

Has anything been paid or is anything payable from any third party for the
damages 5listed 111 your answers to interrogatories? If so, state the amounts paid or payable, the
name and address of the person or entity who paid or owes the amounts and Which third parties
have or claim a right of subrogation

As to each survivor making a claim in this case, please state in detail what support
they claim to have lost as a result of the decedent‘s death (support includes contributions in kind,
as well as money) and What services Were performed for them by the decedent that will now be a
necessary expense to them and for each item, the exact amount claimed, and a detailed
accounting as to each individual survivor of how you arrived at this amount.

 

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17 Give the name and street address of all banks loan associations savings and
loans brokerage firms mortgage companies or brokers and other institutions wheie the 1
deceased had an account, or in which the deceased had a financial interest for the five (5) years
preceding his/her death and identify Leach account with enough specificity to enable this
defendant to obtain the financial records

Please list the amount of the decedent‘s personal expenses in each of the five (5)
years preceding his or her death being specific as to the type of expense (i. e., clothing,
entertainment, food, etc ) and the amount spent each year on that expense

Please list all damages or incidental expenses (excluding pain and suffering)
claimed]'9 in this action which have not been Iisted' in your answers to the preceding interrogatories
and as to each item of damage or incidental expense, state the name and street address of the

person or entity to whom money has been paid or to whom money is owed on behalf of the
decedent or his estate.

Was the decedent or any survivor making a claim' in this action ever convicted of
a crime which under the law was punishable by death or imprisonment in excess of one (1) year,
or that involved dishonesty or a false statement regardless of the punishment? If so, state as to
each conviction the s ecific crime and the date and place ofconviction.

 

Please list the name and street address of all persons who resided with the
decedent lduring the five (5) years prior to his or her death.

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22, Do you intend to call any expert witnesses at the trial of this case? If`so, state as to
each witness the name and address of the witness the witness’s qualifications as an expert, the
subject matter upon which the witness is expected to testify, the substance of the facts and
opinions to which the witness is expected to testify, and a summary of the grounds for`:`_`each
opinion.

Prior to his/her demise, did the decedent make any statement as to how the event
sued upon occurred and if so, state the substance of the statement and the name and address of all
persons who heard the statement

24. Give the iiill name and street address of survivors in this action as defined in the
Florida Wrongful Deth Act.

Have you made an agreement with anyone that would limit a party’ s liability to
anyone for any of the damages dues upon in this case? If so, state the terms of the agreement and
the parties to it.

Please state if the decedent or survivors to this action have ever been a party in a
lawsuit and`, if so_, state the nature of the action, the date and court in which the suit was filed as
well as the final disposition

27. Do you contend or claim that there has been a loss of net accumulations to the
Estate`? If so, state the amount and the method that was used in computing the loss.

 

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28. Has a private autopsy been conducted on the decedent? If so, when, by whom
(provide the name and addi‘ess), and describe all reports and data collections generated as a result
of the private autopsy, along with the suspected causes of death.

    

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CASE NO, 2015-CA~002802 ~»`l 1J -G

M 772/warm

EL|;:MBETH THORPE/

STATE oi= FLoRioA
oouNTY oF @[Qag; =

Swom o (or atfirmed) and subscribed before mathis 30 day of YQ€LWSVJ~ _

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L_F»'Not-ary 'l='ublic - State of Florida_

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_ Name of Notary Public)

 

Persona|iy Known OR Produced identification 1/
Type of ldentitication Produced:_ Yt- b \_ \ "`.-L,\a r al lie-»‘? ti r'»~°

Case 6:17-CV-01162-GKS-TBS Document 16 Filed 09/15/17 Page 38 of 84 Page|D 599

 

 

In the Matter Of:
ELIZABETH THORPE and JOHN CLARK WILLIAMS

VS.

BJ'S RESTAURANTS

 

Deposition of:

JERRY THORPE
March 27, 2017

 

Vol l

PHIPPS REPORTING

leasing YZ'rra Bar.-..

!E-xhibit o

 

 

 

 

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1 IN THE CIRCUIT COURT OF THE
EIGHTEENTH JUDICIAL CIRCUIT IN
2 AND FOR SEMINOLE COUNTY, FLORIDA
3 CASE NO.: 2016-CA-002802~11J~G
4
ELIZABETH THORPE and JOHN
5 CLARK WILLIAMS, 11, as
Co-Personal Representatives
6 Of the Estate Of JOHN CLARK
WILLIz-\Ms, M.D., deceased,
7
Plaintiffs,
8
vS.
9
BJ’S RESTAURANTS, INC., a
10 foreign corporation, and
ESTEBAN ANTONIO MURILLO,
11 an individual,
12 Defendants.
13 /
14
DEPOSITION OF JERR1 THORPE
15
16 VOLUME 1
PAGES 1 - 76
17
18 Monday, March 27, 2017
1:17 p.mJ - 3:08 p.m.
19
20 801 North Orange Avenue
Suite 830
21 Orlando, Florida 32801
22
23
24 STENOGRAPHICALLY REPORTED BY:
Lori Francis, RPR, FPR
25

 

 

 

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(888) 871-3408

Case 6:17-CV-01162-GKS-TBS Document 16 Filed 09/15/17 Page 40 of 84 Page|D 601

 

Page2
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4

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5 Read and Sign Letter 74

Certificate of Reporter 75
6 Errata Sheet 76
7

EXHIBITS

8

EXHIBIT DESCRIPTION PAGE
9

10 No. 1 PHOTOS: (7) 8X10 laser color copies 14
11
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Pagc4
1 The following proceedings began at 1:17 p.m.:
2 THE COURT REPORTER: Please raise your right
3 hand. 1'm going to swear you in.
4 Do you swear that the testimony you're about
5 to give will be the truth, the whole truth and
6 nothing but the truth?
7 THE WITNESS: 1 do.
8 JERRY THoRPE,

9 having been first duly sworn or affirmed, as hereinafter
10 certified, testified as follows:
11 DIRECT EXAMINATION
12 BY MS. KERSH:
13 Q. Good afternoon, Mr. Thorpe, Would you please
14 state and spell your name for the record?
15 A. My name is Jerry Allen Thorpe; J-E-R~R~Y
16 A-L-L-E-N T-H-O-R-P-E.
17 Q. Thank you, Have you ever had your deposition
18 taken before?
19 A. No.
20 Q. Okay. 1'm sure you had the opportunity to or
21 you may have had the opportunity to speak with your

22 wife's attorney regarding this matter. 1 just want to
23 go over a little bit of the ground rules as far as how
24 the deposition works and what we're here to talk about

25 today.

 

 

 

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Pagc 1 ]
1 the date of the incident?

2 A. The date, no.

3 Q. Do you recall the month?

4 A. 1 think it was September because it was close
5 to his birthday. 1t's been so long I've forgotten -- to
6 me those things are not important. More along what

7 happened is the most important part to me.

8 Q. Could you briefly describe to me what happened
9 that day?
A. mae "* 'f vs 'Mn tc tt ‘ .room. He went
"i ` tt' n ina ana 1 “,n' rems l ' dr"c tt:".
` 1‘1. 1 ~ w " ~hing m" nc t ausa “ weis e_t t-
re.l to t* , nd while T "__ \_' 11 11 dane T k 1 n
” 'w" t nin, int "'d s . l lt t:v ‘ rent
11 \ , \: r_n.
16 He was through doing what he was doing, he turned,

17 which would be from his left and came from behind me as
18 though he was going to the sink to wash his hands, and
19 in that process that's when the door was opened and it
20 was opened with a large amount of force and it hit Doc.
21 That's what 1 call him. 1 heard somebody -~ there
22 was a ~~ 1 think an "oops" or "1'm sorry." 1 heard Doc
23 shuffle and 1 knew he was falling. So given where he

24 was, 1 did not have enough time to go this way, so 1

25 turned to my left to try to catch him if it was at all

 

 

 

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Pagel3
1 Q. Okay. When you mentioned that he was putting
2 his hands on his pockets, you were gesturing to his
3 thighs, so his pants pockets?
4 A. 1 say pants pockets. He was not trying to
5 stop himself or brace because he knew that would be the
6 wrong thing to do. 1'm sure he had many patients he

7 told to do that.

8 Q. From where you were standing at the sink

9 washing your hands, you could see Doc behind you in the
10 mirror?

11 A. 1 did not see the collision, but 1 saw him

12 move because there was a blind spot, but he and 1 were
13 the only ones in there. 1t was quiet and 1 was
14 listening, trying to figure out what he was doing at the
15 same time because 1 had washed and then 1 may have --
16 somewhere in that process what 1 was wanting to do was
17 get my hands dry to go with him and that was about it.
18 1 did not see the collision, but 1 could hear where he
19 was and 1 could hear the collision.
20 Q. So as far as your opinion that the door was
21 open with a large amount of force, are you basing that
22 on the sound that you heard?

23 A. Two things, yes, and mostly sound but -- 1

24 guess really where he was standing. The door -- it was

25 almost that fast when he got hit. And the thud -- 1 can

 

 

 

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Pagezz
1 Q. Was Dr. Williams driving at this time?
2 A. No.
3 Q. Did you pick him up that day?
4 A. We picked him up.
5 Q. Where did you pick him up from?
6 A. Arden Courts. He had dementia and that was
7 his favorite thing to do was -~ he loved the chocolate

8 dessert. 1 forgot which one it was. 1'd have to look

9 at the menu, but we'd take him there every week to spend
10 some time with him and we went and picked him up.
11 Q. So you had been to that BJ’s location before?
12 A. That was at least the third time we had been

13 there. Once again, 1 have no idea exactly but three

14 times.

15 Q. Best estimate is fine.

16 A. Yeah.

17 Q. When you arrived at the restaurant, when did

18 you go to the restroom?

19 A. 1'm not 100 percent sure. 1 think we had

20 ordered and were on our way. 1 don't think the first
21 thing had even made it to the table except maybe drinks,
22 and he probably had iced tea.

23 Q. When you went to the restroom and entered the
24 men’s room, were you walking in front of Doc, or was he

25 walking in front of you?

 

 

 

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Page 23
1 A. 1 have no idea, but 1 probably held the door

2 open for him, so 1 would imagine 1 went first to let him
3 in because the door was too heavy for him to push open.
4 Q. 0n the other times that you went to this BJ’s
5 location, do you recall having used the restroom before
6 with Doc?
7 A. We had been to the restroom before.
8 Q. How would you describe Doc‘s mobility on the
9 date of the incident?
10 A. No worse than normal. 1 mean, he was 89 years
11 old, so he wasn't moving around very fast. 1 went with
12 him for two reasons: One, if there was a problem given
13 his age, there would be somebody there. We would know
14 sooner, which 1 would do for anybody that age, 1t's
15 not -- and two, just to make sure he got back because
16 with the dementia, sometimes he would have a tendency to

17 wander.

18 Q. Was he able to walk on his own?

19 A. Yeah.

20 Q. Did he require any physical assistance?

21 A. He didn't have any physical -- no.

22 Q. Didn't use a walking device of any sort?

23 A. Didn't use a walker, didn't use a cane. He

24 was slow but --

25 Q. What is the first thing that you remember

 

 

 

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In the Matter Of:
ELIZABETH THORPE and JOHN CLARK WILLIAMS

 
    
 

V'S .

BJ’S RESTAURANTS

 
 
 

 

 

Deposition of:

ELIZABETH THORPE
March 27, 2017

    
    
 

 

   

Vol 1

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Exhibit D

 

 

 

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l IN THE CIRCUIT COURT OF THE
EIGHTEENTH JUDICIAL CIRCUIT IN
2 AND FOR SEMINOLE COUNTY, FLORIDA
3 CASE NO.: 2016-CA-002802-llJ-G
4
ELIZABETH THORPE and JOHN
5 CLARK WILLIAMS, II, as
CO-Personal Representatives
6 Of the Estate Of JOHN CLARK
wILLIAMs, M.D., deceased,
7
Plaintiffs,
8
vS.
9
BJ’S RESTAURANTS, INC., a
10 foreign corporation, and
ESTEBAN ANTONIO MURILLO,
11 an individual,
12 Defendants.
13 /
14
DEPOSITION OF ELIZABETH THORPE
15
16 VOLUME l
PAGES l ~ 78
17
18 Monday, March 27, 2017
10:21 a.mJ - 12:42 p.m.
19
20 801 North Orange Avenue
Suite 830
21 Orlando, Florida 32801
22
23
24 STENOGRAPHICALLY REPORTED BY:
Lori Francis, RPR, FPR
25

 

 

 

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PageZ
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2 Testimony of Elizabeth Thorpe
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6 Errata Sheet 78
7

EXHIBITS

8

EXHIBIT DESCRIPTION PAGE
9

10 No. 1 PHOTOS: (7) 8X10 laser Color copies 18
11 No. 2 BJ’S Restaurants, Inc. guest
incident report 22
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1 The following proceedings began at 10:21 a.m.: IUge4
2 THE COURT REPORTER: Please raise your right

3 hand. 1'm going to swear you in.

4 Do you swear that the testimony you‘re about

5 to give will be the truth, the whole truth and

6 nothing but the truth?

7 THE WITNESS: 1 do.

8 ELIZABETH THORPE ,

9 having been first duly sworn or affirmed, as hereinafter
10 certified, testified as follows:
11 DIREC’].‘ EXAMINATION
12 BY MS. KERSH:
13 Q. Good morning, Ms. Thorpe. Would you please
14 state and spell your name for the record?
15 A. Elizabeth Thorpe, E-L-I-Z-A-B-E-T-H, Thorpe,
16 T-H-O-R~P-E.
17 Q. And 1 understand that you go by Beth; is that

18 correct?

19 A. 1 do.

20 Q. Have you had your deposition taken before?

21 A. NO.

22 Q. 1'm sure you had the opportunity to speak with

23 your attorney about the purpose of the deposition and
24 what we're here to talk about today, but 1 just want to

25 go over a couple of the ground rules just as far as

 

 

 

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Pagc 18
1 1-4, 1-5, 1-6, 1-7.

2 (Defendant‘s Exhibit 1 marked for identification.)
3 BY MS. KERSH:
4 Q. 1f you would go ahead and take a look at the

5 seven photographs. To the best of your knowledge, is

6 that the restroom where the incident occurred?

7 A. Yes.
8 0 Do you know who took these photographs?
9 A Yes.
10 Q. Who took them?
11 A My son, Michael Thorpe.
12 Q Do you know when these photographs were taken?
13 A Not exact date, within a week 1 would say.

14 1'm not certain about that, 1 can't --

15 Q. But they were not taken on the date of the
16 incident?

17 A. No.

18 Q. 13 there a photograph in here that depicts
19 where your father was sitting when you entered the

20 restroom?

21 A. Not exactly.

22 Q. Do you recall which side of the door he was
23 sitting on?

24 A. 1 believe he was -- no, because the door was

25 propped open and 1 really didn't look spatially, so 1

 

 

 

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In the Matte'r of:
Elizabeth Thorpe/Estate of John Clark Williams, M.D.
vs.

BJ’S Restaurant

 

RAY VEG_A

Mczrch 28, 2017

 

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Case 6:17-cV-01162-GKS-TBS Document 16 Filed 09/15/17 Page 61 of 84 Page|D 622

Elizabeth Thorpe/Estate of John Clark Williams, |V|.D. vs. BJ'S Restaurant

 

RAY VEGA
1 IN THE CIRCUIT COURT OF THE 18TH JUDICIAL COURT
2 SEMINOLE COUNTY , FLORIDA

3 ELIZABETH THORPE,
ESTATE OF JOHN CLARK WILLIAMS, M.D.,

Plaintiff,

5 ~vs~ CASE NO. 2016 CA002802-11J-G

6 BJ’S RESTAURANT,

7 Defendant.

8

9 _ _ _ _
10 Videotaped deposition of RAY JOMARK ALIZEA VEGA,
11 taken as if upon direct examination before Lisa M.

12 Wright, a Notary Public within and for the State of

13 Ohio, at the offices of Tackla & Associates, 1020 Ohio
14 Savings Plaza, 1801 East 9th Street, Cleveland, Ohio, at
15 11:20 a.m. on Tuesday, March 28, 2017, pursuant to

16 notice and/or stipulations of counsel, on behalf of the
17 Plaintiff in this cause.

18 ~ ~ ~ -

19

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22

23

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' 800-275-7991

Case 6:17-cV-01162-GKS-TBS Document 16 Filed 09/15/17 Page 62 of 84 Page|D 623

Elizabeth Thorpe/Estate of John Clark Williams, M.D. vs. BJ`S Restaurant
RAY \/EGA 2

 

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(407) 843-3939
10 Skersh@wickerssmith.com
11 On behalf of the Defendant.

12 ALSO PRESENT:

13 Brandon Pisciotta, Videographer
14

15

16

18

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22
23
24

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Case 6:17-cV-01162-GKS-TBS Document 16 Filed 09/15/17 Page 63 of 84 Page|D 624

Elizabeth Thorpe/Estate of John Clark Williams, M.D. vs. BJ’S Restaurant
RAY VEGA 23

 

1 A. 1t's almost a double. 1t's past eight hours --
Q. Okay. So on Fridays you may work from before

2
3 lunch through to past dinner?

ph

A. Yeah.
Q. And any reason to dispute that this incident

5
6 occurred during that lunch rush?

7 A. 1t might have occurred in the lunch rush.
8 Q. Okay. Regardless, am I correct that you remember
9 it being very busy?

10 A. Uh-huh.

11 Q. Is that a yes?

12 A. Yes.

13 Q. Why don't you tell me what you recall, how the

14 incident occurred.

15 A. 1 was going to the bathroom, and when 1 opened

16 the door 1 didn't know that he was behind the door.

17 When 1 opened the door 1 knocked him down. 1 helped him
18 up. 1 was like, are you okay? He said my lower back

19 hurts. So 1 was like, okay. Let me go get my manager
20 so he can go get your table. He was like okay.

21 So 1 went to his table and 1 told his, 1 think it
22 was his daughter. 1 don't remember who she was. 1 told
23 her what happened, and then 1 went to go get my manager.
24 And 1 told him that 1 had opened the door and 1 knocked

25 him down, that it was an accident, that 1 made sure he

 

 

 

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Elizabeth Thorpe/Estate of John Clark Williams, M.D. vs. BJ'S Restaurant

 

 

 

 

RAYVEGA 28
l in order to push the door open?
2 A. No.
3 Q. You can just push it open with your foot?
4 A. Uh~huh.
5 Q. Is that a yes?
6 A. Yes.
7 Q. Okay. And that door, how would you describe how
8 heavy that door is when you try to push it open?
9 A. 1t wasn't that heavy. 1t's a normal door.
10 Q. Some doors you can push them --
11 A. And they'll --
12 Q. -- just lightly and they'll continue to open all
13 of the way up.
14 A. Uh-huh.
15 Q. Some doors you almost need to lean your body
16 weight into it to push it open. Where did it fall on
17 that scale?
18 A. 1n between.
19 Q. Okay.
20 A. lt wasn't that heavy and it wasn't that -- how do
21 you say it? 1 forgot the word. Sorry.
22 1t wasn't that light. There you go.
23 All right. Somewhere in the middle?
24 A. In the middle, yeah.
25 Q. Okay.
___;
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Elizabeth Thorpe/Estate of John Clark Williams, M.D. vs. BJ’S Restaurant

 

 

 

RAY VEGA 29
1 A. Like if you ~~ you did have to force it to open
2 it but not, you didn't have to put all your body into it
3 or anything. You can just open it with your hand.
4 Q. Do you remember being in a hurry?
5 A. No.
6 Q. How fast were you going?
7 MS. KERSH: Object to form.
8 A. Normal speed. 1 was just walking to the
9 bathroom.
10 Q. I asked because you had said that you were
11 particularly busy that day?
12 A. Yeah.
13 Q. So the longer you’re away from making pizzas, the
14 more backed up those orders will get; is that right?
15 A. Yeah. But in my station, my station was, 1
16 didn't have no orders or anything. That‘s why 1 decided
17 to go to the bathroom.
18 Q. Okay.
19 A. When 1 came back 1 did have a couple of them, but
20 when 1 went to the bathroom there was no orders on my
21 screen.
22 Q. All right. Did you knock on the door before
23 pushing it open to see if there was anyone standing
24 right on the other side of it?
25 A. No.
/,
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Case 6:17-cV-01162-GKS-TBS Document 16 Filed 09/15/17 Page 66 of 84 Page|D 627

Elizabeth Thorpe/Estate of John Clark Williams, M.D. vs. BJ’S Restaurant

 

 

 

 

RAY VEGA 31
1 Q. When you attempted to enter the restroom, was it
2 the door that made contact with Dr. Thorpe, or was it
3 just you after you pushed the door open?

4 A. 1t was the door. 1 didn't know -- when 1 opened
5 the door 1 heard a, kind of a bang in the door, so when
6 1 looked he was on the floor. So 1 just closed the door
7 and 1 helped him up.
8 Q. Did you see him falling?
9 A. 1 saw him on the floor. 1 didn't see him
10 falling.
ll Q. Right. By the time you got around the door he
12 was already on the ground?
13 A. Uh-huh.
14 Q. Is that right?
15 A. Yeah.
16 Q. You had, did you say you had heard a thud noise?
17 A. Yeah. Like when you hear something with the
18 door, 1 just heard that. And when 1 looked around he
19 was on the floor.
20 Q. Okay. Did you then think that that was the door
21 making contact with him?
22 A. Yeah. 1 had to -- 1 was like, there has to be
23 something that 1 hit with this door and there is nothing
24 behind this door. lt might be a person. So when 1
25 looked it was him,
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Elizabeth Thorpe/Estate of John Clark Williams, M.D. vs. BJ’S Restaurant

 

 

 

 

 

RAY VEGA 32
1 Q. Do you know where it made contact with him?
2 A. No.
3 Q. When you were opening the door you couldn't see
4 him?
5 A. No.
6 Q. When you opened the door that day do you remember
7 how you opened it, whether it was with your hand or your
8 body or your foot?
9 A. With my hand.
10 Q. Were you carrying anything?
11 A. Huh~uh.
12 Q. Is that a no?
13 A. No.
14 Q. Did you hear, after you heard the door make
15 contact with Dr. Thorpe, did you hear any shuffling of
16 feet, anything to indicate he was trying to catch his
17 balance?
18 A. No.
19 Q. You didn't hear anything --
20 A. No. All 1 heard was when 1 hit him when the
21 door, when he hit the floor. That was it.
22 Q. Did you think that, when you first saw him did
23 you think that Dr. Thorpe was hurt?
24 A. 1 kind of thought about it and that's why 1 asked
25 him, are you okay, does anything hurt. And the first
candor LE)GAL' orange Legai

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Case 6:17-cV-01162-GKS-TBS Document 16 Filed 09/15/17 Page 68 of 84 Page|D 629

Elizabeth Thorpe/Estate of John Clark Williams, M.D. vs. BJ'S Restaurant
RAY VEGA 48

 

1 Q. Tell me about the conversation with the daughter
2 when you told her --
3 A. 1t was really short. She was standing by the
4 hallway where the bathrooms are at, and 1 went over
5 there and 1 told her ~- if she was with the guy inside
6 and she said yeah. 1 was like, 1 just want to let you
7 know that 1 was the one that knocked him down with the
8 door, 1 am so sorry about that, it was not intentional,
9 1 did not know he was behind the door. 1 didn't see
10 him, But 1 do feel sorry because 1 knocked him down. 1
11 just wanted to let you know that 1, anything you guys
12 need, 1 will be right here. She told me thank you, 1
13 appreciate that, but there is nothing you can do.
14 Accidents just happen. She was like you're fine. Don't
15 worry about it. And then 1 left.
16 Q. Had you ever seen Dr. Thorpe and his family in
17 there on prior occasions?
18 A. No. We barely go to the front, to the lobby.

19 We're always on the line so we don't get out much on the

20 line.

21 Q. It's not an open kitchen?

22 A. No.

23 Q. You didn‘t, am I correct, you didn't witness any

24 of the care provided by the paramedics when they

25 arrived?

 

 

 

 

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Elizabeth Thorpe/Estate of John Clark Williams, M.D. vs. BJ'S Restaurant

 

RAY VEGA 51
1 questions.
2 _ ._ ._. ._
3 CROSS-EXAMINATION OF RAY JOMARK ALIZEA VEGA
4 BY MS. KERSH:
5 Q. You mentioned that around the time that the
6 incident occurred that it was a lunch rush for the
7 restaurant?
8 A. Yes.
9 Q. Were you in a rush at the time you were using the
10 restroom?
11 A. We, all the store was in the middle of a rush.
12 My, like 1 was telling the gentleman over here, my
13 screen was -- my orders were already made, so 1 needed
14 to go to the bathroom. That‘s when 1 went to the back.
15 The bathroom in the back was busy so 1 went to the front
16 and used the one in the front, and that's when the
17 incident happened,
18 Q. So although the restaurant was busy, your station
19 and you personally, you were not busy?
20 A. Yeah. 1 was not busy,
21 Q. So you had, you felt, enough time to leave your
22 station?
23 A. And go use the bathroom and come back.
24 Q. Okay. Had you used the restroom before the date
25 of the incident?

 

 

 

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Elizabeth Thorpe/Estate of John Clark Williams, |\/|.D. vs. BJ'S Restaurant

 

RAY VEGA 52
1 A. Yeah.
2 Q. Did you ever have any difficulties navigating the

3 inside

4 A.
5 Q.
6 A.
7 Q.

9 A.

10 Q.

12 A.
13 Q.
14 hand?
15 A.
16 Q.
17 A.
18 Q.
19 A.
20 Q.

 

of the restroom?
Huh~uh.

Is that a no?
Not at all.

Did you ever have, experience any incidents where

8 you were almost hit with the door in this restroom?

NO.

There was some conversation about how the door

11 was opened?

Yeah.

You testified that you opened the door with your

Uh-huh, yes.

You didn't kick the door open?

No.

You didn't use your foot to open the door?
No.

It didn't require your full body weight to open

21 the door?

 

 

22 A. No, not at all.
23 Q. But it did require some force to open the door?
24 A. A little bit of force, yes, that's correct.
25 Q. Do you know would this door stop on its own
//
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Elizabeth Thorpe/Estate of John Clark Williams, M.D. vs. BJ‘S Restaurant

 

 

 

 

RAY VEGA 53
1 before it came into contact with the metal sheets that
2 we talked about that separated the urinals?

3 A. Yeah.

4 Q. Was there some sort of device on the door that

5 would stop it at a certain point from opening that

6 you're aware of?

7 A. Not that 1 noticed, no.

8 Q. But at some point, because of the way that the

9 door was made, you would not be able to push it --

10 A. Yeah.

11 Q. -- into the urinals; correct?

12 A. Correct. Plus the metal sheets that are by the
13 urinal is not going to let it go all the way over there.
14 1t's still going to hit that and it's not going to open
15 all the way.

16 Q. Do you think there was anything wrong with the
17 door on the date of the accident?

18 MR. GILBERT: Object to form.

19 A. Not that 1 know of.

20 Q. There was a question as far as whether you were
21 asked to come early today. Do you recall who it was
22 that asked you to arrive earlier today?

23 A. The one, Ramona, the one 1 was talking to. She
24 told me if 1 could be here by -- because the subpoena
25 was supposed to be 11:30. She said if 1 could be here
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800-275-7991

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83849515LK160928807
|N THE C|RCU|T COURT OF THE
E|GHTEENTH JUD|C|AL ClRCU|T |N AND FOR
SEMINOLE COUNTY', FLOR|DA

EL|ZABETH T|-lORPE and JOHN CASE NO. 2016-CA-002802 -11.1 -G
CLARK W|LLlAlVlS, i|, as Co-Personal

Representatlves of the Estate of JOHN

CLARK WlLL|ANlS, M.D., deceased

Plaintiffs1
vs.

srs RESTALJRANTS |NC., a foreign
corporation1 and ESTEBAN ANTON|O
MURILLO, an individua|,

Defendants.
1

NoTlcE oF ssvaNc ANSW§Rs L)_PLAlNT:FF's sscoNn ser oF
lNTERRoeATchEs

NOT|CE lS HEREBY GlVEN that Answers to the Second Set of interrogatories
propounded to, Defendant BJ'S RESTAURANTS, iNC., by Plaintiff. Estate of JOHN C.
W|Li_iA|VlS, on December 20, 2016, have been furnished via e~mai| to: all counsel of
record on date shown below.

VVE HEREBY CERTlFY that a copy hereof has been electronically served via
Florida ePortal to; Jonathan T. Gilbert, Esquire, JGilbert@thefloridafirm.com,
RFiahagan@thefloridaflrm.com, RBryan@theflorldafirm.com.
Certiiicateofservice@thef|oridafirm.com; on this 7“‘ day of February, 2017.

/s/ Joseph P. Menelio

Joseph P. l\/lenello, Esquire

Florida Bar No. 147400

Suzanne L. Kersh, Esquire

Florid Ber No. 0125048

WICKER S_M|TH O'HARA MCCOY & FORD, P,A.
Attorneys for BJ‘s Restaurants, |nc.
390 N. Orange Ave., Sult.e 1000
Orlando, FL 32801

Phone: (407) 843-3939

Fax: (407) 649-8'118
ORLcrtp|eadings@wickersm|th.com

 

 

Exhibit F

 

 

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CASE NO. 2016~CA~002802-11J -G

ANSWERS TO PLA|NT|FF’S SECON_|I_) SET OF |NTERROGATOR|ES

'1. Stete the full name, address. occupation and employer of any and ali persons who
answer these interrogatories or who have provided information used in compiling the
answers to these interrogatories

ANSWER: These interrogatory Answers are completed on behalf of the corporate
defendant BJ’s Restaurants, lnc., with the assistance of counsel, Joseph P. Menelio,
EsquireNVicker, Smith, O’Hara, |VicC.oy, & Ford, P.A., Bank of America Center, Suite 1000,
390 North Orange Avenue, Oriando, Floriday 32801, and are executed by Debbie Nicho|s,
authorized signatory for BJ’s Restaurants, lnc.,- 7755 Center Avenue, Suite 300,
Huntington Beach, CA 92647.

lillany of the facts set forth in these answers are not within the personal knowledge of Ms.
Nichols, but rather have been assembled and compiled ether direction, as to which facts
she is informed, and believes the same, to be true.

2. is the name of the Defendant correctly stated in the Complaint? if not, please state
the correct name and if applicable ali name changes from the date of the alleged
incident to the present

3. State the correct corporate name for the owners and operators of on the date of the
incident alleged in the Complaintl

 

4, Are the date, time and place of the alleged incident correctly stated in the Complaint?
if not, please state the date, time and piece of this alleged incident believed or known
by you1 your agents or attorneys to be correct.

5. Please state whether any incident report was prepared by your employees in
response to the incident giving rise to this action, and if there was one, please list the
name, address and occupation of the current custodian of said incident report

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CASE NO. 2016-CA-002802-1‘1J ~G

6. Please list the name, last known address and employer of each and every employee
employed by and working at said location on the date of the incident as alleged in the
Complaint

State the full name address occupation and employer of any and all persons who
have investigated this incident for or on behalf of your your attorneys agents
insurance carrier1 etc.

8. State full name, addressl occupation and employer of any and all persons known to
have any information concerning the incident alleged in Plaintiff‘s Complaint in this
action

9 State the full name address occupation and employer of all persons contacted by
any lnvestlgators in their investigation of this incident

10. State the name address employer and telephone numbers of any and ali persons
known to your or to anyone acting on your behalf who heard or saw or claims to
have heard or seen any of the events or happenings that occurred immediately
before at the time of or immediately after this incident

 

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11. Have you, your agents, investigators,‘ attorneys or anyone acting on your behalf,
obtained any kind of written, recorded, or other type of statement from the Plaintiff or
any persons described in your previous interrogatory answers? if sol please identify
each statement by date, identity of person giving statement and name of current
custodian of each statement

12. Based on your knowledge at this time, describe in detail how the alleged incident
happened1 including all actions taken by the Defendant to prevent the incident

13. State the frequency and dates of inspections of the area where this incident occurred
for the 550-day period prior to the incident and the 24»hour period after this incidentl
which is the subject matter of this litigation. State the neme, address and job title of
the person who made the last inspection prior to the incident

14, Did any person inspect the area where the Plaintiff was allegedly injured within 24
hours prior to the alleged incidentl If sol please state the name and address of each
person performing said inspection, the times or frequencies of said lnspection(s), and
whether or not said inspection(s) revealed any defect or condition to be present

15. Did any person inspect the area where the Plaintiff was allegedly injured within 24
hours after the alleged incident? if so, please state the name and address of_each
person inspecting said area, the time and date of each lnspection, and the

employment capacity of each personl if any.

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cAsE No. 2016-cA-002802-1'1;i -c

16. State whether you have within your possession or control photographs platesl
diagrams of the incident scene or objects connected with said incident Describe any

and ai| such items.

17. State who was responsible for the design and construction of that portion of the
premises where Plaintiff was injured as alleged in the Complaint,

18. Please state whether or not you have experienced any other similar incidents on the
premises involved in this action within six months prior to or six months following the

date of incident

ANSWER: Defendant is unaware of any prior similar incidents.

19. lf your answer to questions 'li is yes. please list the name. address and occupation
and telephone number for each and ever individual involved in said incidents and
describe the status of the individual (i.e., person falling, eye witnes-ses, etc.)

20, Please state the name, address and telephone number for those individuals
responsible for maintaining the premises involved in this action on the date of the

incident in question

21. Please give the name, addressl and occupation of the person with your company
who would have the most details concerning the maintenance and cleaning
procedures utilized by your company on the premises involved in this action on the
date of the incident in question

 

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CASE NO. 2016-CA-002802-11J ~G

22 Give concise statement of the facts as to how you contend the Plaintiff's incident
took piace.

23. if you contend that Plaintiff acted in such a manner as to cause or contribute to the
incident give a concise statement of the facts upon which you rely.

24, Does the Defendant or its attorneys intend to call any non-medical expert witnesses
at the trial of this case? if so, please state the name and address of each witness,
their qualifications as an expert the subject matter upon which they are expected to
testify, and the substance of the facts and opinions tc which each expert is expected
to testify and a summary cf the grounds for each opinion.

 

25 State whether there ls iiability' insurance covering the Defendant(s f)orthis incident lf
yes identify the' insurance carrier, policy number and applicable limits of liability

 

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VERIF|CAT|ON OF ANSWERS TO |NTERROGA'YOR|ES

 

i HEREBY CERT|FY that the foregoing Answers to interrogatories are true and
correct to the best of my knowledge1 information and beiief.

®¢i‘ektct'.- … libels
Debbie Nicho|s
Vice President, Risk l\/lanagement

STATE OF FLOR|DA

 

 

COUNTY OF ORANGE
The foregoin Answers to the First Set of interrogatories were acknowledged
before me the wesley of January 2017, by Debbie- v\`ai~vlr , Whe is
pers.onail known to me or who has produced M}/r as
identification and who did take an oath. '
/ ." l

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1" . ...-'f€'j.-'é}‘\»-t~-Ht;_&/\_/»_a

Signature of Notary Pubiic

D€--l'ot)\-ai in H“i@»i"‘f)i §oo in. C/ia up
Printed Name of Notar'y Pubiic

    

., , , DEBORAH Ht'UiJNQ'SOOK CHUN
\ commission #‘2139324

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munoz County

M _Comm. Elr iran Jln 7._2020

 
   
      

 

 

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83849-5
UN|TED STATES D|STR|CT COURT
i\/llDDLE DlSTR|CT OF FLOR|DA
ORLANDO D|V|S|ON

EL|ZABETH THORPE and JOHN CASE NO. 6217~CV~001162
CLARK WlLL|Al\/iS, ||,

Plaintiffs,
vs.
BJ'S RESTAURANTS |NC.,

Defendants.
/

 

AFF|DAVIT OF DEBB|E NlCHOLS

STATE OF CAL|FORN|/-\
COUNTY OF firrth

BEFORE l\/iEl the undersigned authority, on this day personally appeared Debbie
Nichois, who after being first duly sworn, under oath, deposes and says:

1. l\/ly name is lDebbie Nicho|s. l am over the age of eighteen (18), am
otherwise competent to testify, and have personal knowledge of the
information contained herein.

2. i am currently employed by BJ’s Restaurants, lnc., as the Vice President
of Risk l\/lanagement.

3. Prior to Dr. John Clark Williams’ fall on September 23, 2015, no guest or
employee complained about the men’s restroom door being dangerous or
posing a hazard to individuals using the men’s restroom.

4. Prior to September 23, 2015, there were no reports of complaints or

reports of injuries sustained due to the men’s restroom door by any guest

lEXhibit Gl

or employee using the men’s restroom.

 

 

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5. Prior to Dr. John Clark Williams' fall on September 23, 2015, no guest or
employee reported a similar accident incident or injuries involving the
men’s restroom door.

FURTHER AFF|ANT SA|TH NAUGHT.

t

Debbie Nichois

app
Sworn to (or 20aff$"red) and subscribed before me this |Z "r day of
§Ci?t@/.W\ lQ»Q/l/ by ‘Dt’>\oomh laidlaw/13 §ooit. tot/mm

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osaonria HYovNc sock cHuN / '/` M~;,-,\f\a

C°f“m'“'°" f 2139324 Notary Pubiic- State of California
Notary Publlc- California §

 

 

(Print, Type, Starnp, or Commissioned
Name of Notary Pubiic)

Personaily Known iq OR Produced |dentification___
Type of identification Produced:

 

 

 

 

 

CaSe 6:17scv-01162~GKS-TBS Document 16 Filed 09/15/17 Page 81 Of 84 PageiD 642
STEPHAN|E EJESUS
1 IN THE CIRCUIT COURT OF THE EIGHTEENTH JUDICIAL
CIRCUIT IN AND FOR SEMINOLE COUNTY, FLORIDA
2
Case No. 2016-CA-002802-11J-G
3
4 ELIZABETH THORPE and JOHN CLARK WILLIAMS II, as
Co-Personal Representatives of the Estate of JOHN
5 CLARK WILLIAMS, M.D., deceased,
6
Plaintiff,
7
v.
8
9 BJ’S RESTAURANTS, INC., a foreign corporation and
ESTEBAN ANTONIO MURILLO, an individual,
10
11 Defendants.
12 /
13 DEPOSITION OF: STEPHANIE DeJESUS
14 DATE TAKEN: May 313t, 2017
15 TIME: 9:57 a.m. - 11:08 a.m.
16 PLACE: Wicker, Smith, O'Hara, McCoy &
Ford, P.A.
17 390 N. Orange Avenue, Suite 1000
Orlando, FL 32801
18
19 TAKEN BY: The Plaintiff
20 REPORTED BY: Jenny Marmol
Court Reporter, Notary Public,
21 State of Florida
22
23
24
25 Exhibit n

 

 

 

 

 

 

lt `LL Orange Legal
800-275-7991

Ca ass 6:17--.cv 0-1.-162 GKS- TBS.. Document 16 Filed 09/15/17 Page 82 of 84 PagelD 643
STEPHAN|E DEJESUS 2

 

1 APPEARANCES
2

3 On behalf of the Plaintiff:

4 COLLING, GILBERT, WRIGHT & CARTER
Jonathan T. Gilbert, Esquire

5 jgilbert@thefloridafirm.com
801 N. Orange Avenue, Suite 830

6 Orlando, FL 32801
(407) 712-7300

7

8

9 On behalf of Defendant:

10 WICKER, SMITH, O'HARA, MCCOY & FORD, P.A.
Suzanne Kersh, Esquire

11 skersh@wickeremith.com
390 N. Orange Avenue, Suite 1000

12 Orlando, FL 32801
(407) 843-3939

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Case 6:17-cv-0-1.-162 GKS- TBS. Document 16 Filed 09/15/17 Page 83 of 84 PagelD 6447
STEPHAN|E DEJESUS

 

 

 

1 you worked in previously larger in terms of

2 capacity than the Oviedo location?

3 A. YeS.

4 Q. Is the Kissimmee location that you did

5 your training in larger in terms of capacity than

6 the Oviedo location?

7 A. Yes.

8 Q. There was a discussion that there may have

9 been one other person on the date of the incident
10 who brought a chair into the restroom?
11 A. Correct.
12 Q. Did that person have any other involvement
13 in the incident other than bringing the chair into
14 the restroom?
15 A. Not to my knowledge.
16 Q. When you reported to the restroom, did you
17 have to push the men’s room door open to gain
18 access?
19 A. 1 don't remember if 1 opened it or if
20 Someone else had it opened.
21 Q. Did you look at the restroom door at the
22 time of the incident or after the incident on the
23 same day?
24 A. 1 Was in the restroom, So 1 would have
25 Seen the door.

/ _
ORANGELEGAL Orange Legal
` / 800-275-7991

 

 

 

 

S(TJE\*§EM€`SN1E7DG}\E/=C§Z§1]62 GKS- TBS Document 16 Filed 09/15/17 Page 84 of 84 Page|D 6458
1 Q. Did you notice whether the door was
2 broken?
3 A. The door was not broken.
4 Q. Was -- that you recall, was there anything
5 wrong with the restroom door, the men’s restroom
6 door?
7 A. No.
8 Q. At the time of the incident, you were the
9 dining room manager that was working?
10 A. Correct.
11 Q. And to your knowledge, Mo or Maurice
12 O'Donahue, the general manager, was not there at
13 the time of the incident?
14 A. 1 feel like it happened on a Wednesday,
15 which would have meant if it was a Wednesday, that
16 Mo would have been in for inventory.
17 Q. What time is inventory usually done?
18 A. 1t varies. 1t begins at 5 a.m. in the
19 morning, and sometimes you leave at 6 p.m. at
20 night.
21 MS. KERSH: 1 don't have any other
22 questions.
23 RED1RECT EXAM1NA‘1‘1ON
24 BY MR. GILBERT:
25 Q. If September 23, 2015, was a Wednesday,
/
ORANGELEGA[ Orange Legal
' / 800-275-7991

 

